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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )          2:94cr62-T
TERRY MITCHELL                    )            (WO)

                                ORDER

    This cause is now before the court on defendant's

notice of appeal (Doc. No. 1870), which the court is

treating as a motion to proceed on appeal in forma

pauperis.

    28 U.S.C.A. § 1915(a)(3) provides that "[a]n appeal

may not be taken in forma pauperis if the trial court

certifies in writing that it is not taken in good faith."

In making this determination as to good faith, a court

must use an objective standard, such as whether the

appeal is "frivolous," Coppedge v. United States, 369

U.S. 438, 445, 82 S.Ct. 917, 921 (1962), or "has no

substantive merit."       United States v. Bottoson, 644 F.2d

1174, 1176 (5th Cir. Unit B May 15, 1981) (per curiam),
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cert. denied, 454 U.S. 903, 102 S.Ct. 411 (1981); see

also Rudolph v. Allen, 666 F.2d 519, 520 (11th Cir. 1982)

(per curiam), cert. denied, 457 U.S. 1122, 102 S.Ct. 2938

(1982); Morris v. Ross, 663 F.2d 1032 (11th Cir. 1981),

cert. denied, 456 U.S. 1010, 102 S.Ct. 2303 (1982).

Applying this standard, this court is of the opinion that

the defendant's appeal is without a legal or factual

basis and, accordingly, is frivolous and not taken in

good faith.    See, e.g., Rudolph v. Allen, supra; Brown v.

Pena, 441 F. Supp. 1382 (S.D. Fla. 1977), aff'd without

opinion, 589 F.2d 1113 (5th Cir. 1979).

    Accordingly,      it   is   ORDERED     that   the    defendant's

motion to proceed on appeal in forma pauperis be and it

is hereby denied; and that the appeal in this cause be

and it is hereby certified, pursuant to 28 U.S.C.A.

§ 1915(a)(3), as not taken in good faith.

    DONE, this the 17th day of November, 2005.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
